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Case 1:19-cv-00578-JM6-RT Document 92-3 Filed 05/28/A Page 1 of 3 PagelD.745

LAWS

‘OF THE

TERRITORY OF HAWAII

PASSED BY TIE

LEGISLATURE

AT IES

TENTH REGULAR SESSION
LONS

BEGUN ON WEDNESDAY, THE NINETEENTH DAY |
OF FEBRUARY, AND ENDED ON WEDNESDAY,
THE THIRTIETH DAY OF APRIL |

PUBLISHED BY AUTHORITY

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1918.

EXHIBIT “B”
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Case 1:19-cv-00578-JME-RT Document 92-3 Filed 05/28/A Page 2 of 3 PagelD.746

166 - FrmerarMs AxD AMMUNITION. [Aor 124

archives, or a majority of them. Two of such commissioners
shall be persons well versed in the English and Hawaiian lan-
guages, and the other member thereof shall be a person well
versed in the Hawaiian language. The commissioners so ap-
pointed shall jointly and actively, and without delay, complete
the compilation of said dictionary. The members of said board
shall receive such compensation for their services as the said
commissioners of public archives, with the approval of the gov-
ernor, shall determine.

Szortow 38. This appropriation shall be expended by the
board of commissioners of the public archives in accordance with
the terms of Chapter 198 of the Revised Laws of Hawaii, 1915.

Szorrow 4. This Act shall take effect upon ‘its approval.
Approved this 25th day of April, A. D. 1919.

C. J. McCARTHY,
. Governor of the Territory of Hawaii.

ACT 124

(TY. B. No. 804)

AN ACT vo Aacexn Cuarrrr 125 or tux Revisep Laws or
Hawan, 1915, as Aarenpep sy Aor 122 or raz Susston
Laws or 1915, Renarine ro Frmearms and AMMUNITION,
ny Avuine Turrsro Two New Sscriovs ro sz Known
4s Sxctions 2202B anv 2202C.

‘Be it Enacted by the Legislature of the Territory of Hawaii:

Szotron 1. Chapter 125 of the Revised Laws of Hawaii,
1915, as amended by Act 122 of the Session Laws of 1915, is
hereby amended by adding thereto two new sections to be lnown
as Section 2202B and Section 22020 and to read as follows:

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Case 1:19-cv-00578-JME-RT Document 92-3 Filed os/28/f- Page 3 of 3 PagelD.747

Aor 125] Wrtents ayp Mzascres. 167

“Section 2202B. Any person, firm, or corporation, dealing in
or keeping for sale firenrins, or any other person in possession
of firearms, shall uot make au individual or retail sale of any
such firearms, unless the person desiring 1o purchase the same
shall first have obtained from the sheriff or a deputy sheriff of
the county or city and county a written permit for such pur-
chuse; the person desiring to purchase any such firearms shall
deliver the said written permit to the proposed vendor, and if
the sale is effected, the said vendor shall indorse on the back
of said permit a full and complete description of the particular
firearm sold under said permit, and immediately transmit the
said permit by mail or otherwise to the office or officer issuing
the same.

“Section 2202C. Any person, firm, or corporation who shall

violate any of the provisions of Section 22093 shall be guilty of

~ a taiscemeanor and, upon convintion thereof, shall be punished
by a fine of not snore than five hundred dollars ($500.00).”

Sxorion 2. This Act shall take effect wpon‘its approval.

Approved this 25th day of April, A. D. 1919.

O. J. McCARTHY,
Governor of the Territory of Hawaii.

ACT 125

[H. B. No. 308}

PATE ete ee eel

AN AQT to Amenp Srotrons 2206 anp 2211 or tue Revisep
Laws or Hawau, 1915, as Axrewpep, Rezatine ro
WericHuts any Mrasures,

Be tt Enacted by the Legislature of the Territory of Hawaii:

TONSA EDN MEMS Tite 0 *

Ssction 1. Section 2206 of the Revised Laws of Hawaii,

